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                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                   Case No. 21-CR-00102-CVE

RENEE LYNN HAYNES,

                    Defendant.

                            Motion for Detention Hearing

     COMES NOW the United States of America, pursuant to 18 U.S.C. § 3142(e)

and (f), and hereby requests that the Court hold a hearing pending trial to determine

whether any condition, or combination of conditions, as set forth in 18 U.S.C. §

3142(c), will reasonably assure the appearance of the Defendant as required and the

safety of any other person and the community.

       Dated this 8th day of July, 2021.

                                           Respectfully submitted,

                                           CLINTON J. JOHNSON
                                           ACTING UNITED STATES ATTORNEY


                                           /s/ Thomas E. Duncombe_         ____
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